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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :   CRIMINAL NO. 1:19-CR-316
                                           :
             v.                            :   (Judge Conner)
                                           :
DARIAN DAVIS RAY,                          :
                                           :
                    Defendant              :

                                       ORDER

      AND NOW, this 6th day of November, 2020, upon consideration of the motion

(Doc. 37) to suppress by defendant Darian Davis-Ray, and the parties’ respective

briefs in support of and opposition to said motion, and for the reasons set forth in

the accompanying memorandum, it is hereby ORDERED that the motion (Doc. 37)

is DENIED.



                                        /S/ CHRISTOPHER C. CONNER
                                        Christopher C. Conner
                                        United States District Judge
                                        Middle District of Pennsylvania
